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10
                                 UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA

12    IN RE: SOCIAL MEDIA ADOLESCENT                  Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
13    PRODUCTS LIABILITY LITIGATION                   MDL No. 3047
14
      This Document Relates to:                      ADMINISTRATIVE MOTION TO FILE
15
                                                     UNDER SEAL EXHIBITS TO THE
      K.O. and J.O., individually and as next of     DECLARATION OF JENNIE LEE
16    friend to minor D.O. v. Meta Platforms,
      Inc., et al., 4:23-cv-04255                    ANDERSON IN SUPPORT OF PLAINTIFFS’
17                                                   EIGHTH CONSOLIDATED EX PARTE
      K.P., individually and as next of friend to    APPLICATION FOR APPOINTMENT OF
18    minor S.P. v. Meta Platforms, Inc., et al.,    GUARDIANS AD LITEM
      4:23-cv-05794
19
      I.T. individually and as next of friend to
20    minor, A.P. v. Meta Platforms, Inc., et al.,
      4:23-cv-03292
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(c), Plaintiffs respectfully move for

 2   administrative relief to file under seal the individual Ex Parte Applications for Appointment of

 3   Guardians Ad Litem (“Applications”) described in Plaintiffs’ Eighth Consolidated Ex Parte

 4   Application for Appointment of Guardians Ad Litem (“Ex Parte Application”) and attached as

 5   Exhibits 1-3 to the Declaration of Jennie Lee Anderson in Support of Plaintiffs’ Eighth

 6   Consolidated Ex Parte Application for Appointment of Guardians Ad Litem (“Anderson

 7   Declaration”).

 8          The Applications for which sealing is sought are:

 9      •   K.O. and J.O., individually and as next of friend to minor D.C. v. Meta Platforms, Inc., et

10          al., 4:23-cv-04255 (Exhibit 1);

11      •   K.P., individually and as next of friend to minor S.P. v. Meta Platforms, Inc., et al., 4:23-

12          cv-05794 (Exhibit 2); and

13      •    I.T. individually and as next of friend to minor, A.P. v. Meta Platforms, Inc., et al., 4:23-

14          cv-03292 (Exhibit 3).

15          This motion is accompanied by a [Proposed] Order and the Declaration of Jennie Lee

16   Anderson in Support of Plaintiffs’ Administrative Motion to File Under Seal Exhibits to the

17   Declaration of Jennie Lee Anderson in Support of Plaintiffs’ Eighth Consolidated Ex Parte

18   Application for Appointment of Guardians Ad Litem (“Anderson Decl. ISO Admin Motion”),

19   pursuant to Civil Local Rules 7-11 and 7-12. See Civ. L. R. 79-5(c).

20          This Court previously considered and finding good cause granted Plaintiffs’ request to

21   seal applications for guardian ad litem in this case. ECF No. 16.

22          Pursuant to Civil Local Rule 7-11, Liaison Counsel for Plaintiffs asked Defendants for a

23   standing stipulation that Applications may be filed under seal. Liaison Counsel for Defendants

24   confirmed that Defendants will so stipulate, but do not waive, and expressly reserve, their right to

25   seek an order or orders in the future to unseal individual applications and/or require parents who

26   wish to proceed pseudonymously going forward make a showing of good cause. Anderson Decl.

27   ISO Admin. Mot. to Seal, ¶5.

28          For the reasons set forth above, Plaintiffs respectfully request that the Court enter the

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 1   [Proposed] Order Granting Plaintiffs’ Administrative Motion to File Under Seal Exhibits in

 2   Support of Plaintiffs’ Eighth Ex Parte Application for Appointment of Guardians Ad Litem.

 3

 4   Dated: February 23, 2024                    Respectfully submitted,

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